536 F.2d 1385
    Steere Tank Lines, Inc.v.I. C. C.*#
    No. 75-2904
    United States Court of Appeals, Fifth Circuit
    7/27/76
    
      1
      I.C.C.Tex.
    
    PETITION DISMISSED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431 F.2d 409
        #  Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    